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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

   DANIEL D’AMBLY, AARON WOLKIND, STEVE
   HARTLEY, RICHARD SCHWETZ, JOBEL BARBOSA,                        CIVIL ACTION
   MATTHEW REIDINGER, JOHN HUGO, SEAN-                             NO.: 2:20-cv-
   MICHAEL DAVID SCOTT, THOMAS LOUDEN,                             12880-
   ZACHARY REHL, AMANDA REHL, K.R., a minor, by                    JMV-JSA
   and through her father ZACHARY REHL, and her mother
   AMANDA REHL, MARK ANTHONY TUCCI,
                                                                   Hon. John M.
           Plaintiffs,                                             Vazquez, U.S.D.J.
     vs.

   CHRISTIAN EXOO a/k/a ANTIFASH GORDON, ST.
   LAWRENCE UNIVERSITY, TRIBUNE PUBLISHING
   COMPANY, NEW YORK DAILY NEWS, VIJAYA
   GADDE, TWITTER, INC., COHEN, WEISS AND
   SIMON, LLP, UNNAMED ASSOCIATES 1 - 100.


           Defendants.



  MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT CHRISTIAN
  EXOO’S MOTION TO DISMISS WITH PREJUDICE PURSUANT TO F.R.C.P.
  Rules 12(b)(2) and 12(b)(6)
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                                      INTRODUCTION

            This Court dismissed Plaintiffs’ first amended Complaint (“FAC”) in an

  Opinion and Order dated November 1, 2021. Plaintiffs were granted leave to file

  an amended pleading limited to amendments that “cure the deficiencies noted” in

  the Court’s Opinion. See ECF No. 99, Opinion at 23. Plaintiffs filed a second

  amended Complaint (“SAC”) that failed to cure the fatal defects in the FAC.

  Plaintiffs instead added two named Defendants and added a new claim against

  Defendant Exoo based on a criminal statute for which no civil cause of action

  exists.

            Defendant Exoo seeks dismissal of Counts II, IV, V, and VII in the SAC

  pursuant to F.R.C.P. Rule 12(b)(6) for failure to state a claim. Plaintiffs’

  allegations are refuted by the very Tweets that Plaintiffs assert give rise to their

  claims. Those Tweets are incorporated by reference into the SAC. Defendant Exoo

  also seeks dismissal of the claims of the twelve non-New Jersey Plaintiffs (all

  Plaintiffs other than D’Ambly) for lack of personal jurisdiction.

            First, the SAC fails to state a claim for violation of the RICO statute (Counts

  IV and V of the SAC) for the reasons set forth in the Court’s Opinion dismissing

  those claims in the FAC. Plaintiffs failed to plausibly allege a pattern of RICO

  activity, the existence of a RICO enterprise, and the existence of a RICO

  conspiracy. See ECF No. 99, Opinion at 5-11.


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        Second, the Court lacks personal jurisdiction over Defendant Exoo with

  respect to the non-RICO claims of Plaintiffs other than Plaintiff D’Ambly. As

  noted in the Opinion, only the RICO claims permit nationwide service of process.

  The claims of Plaintiffs other than D’Ambly have no connection to Exoo’s

  jurisdictional contacts with the State of New Jersey. See ECF No. 99, Opinion at

  11-14. Plaintiffs’ amendments have done nothing to cure this fatal defect.

        Third, Plaintiffs’ claims for tortious interference fail for the same reason

  stated in the Opinion. Plaintiffs failed to dispute the truth of Exoo’s alleged

  statements. See ECF No. 99, Opinion at 14-17. Plaintiffs resubmitted identical

  claims for tortious interference without disputing the truthfulness of Exoo’s alleged

  claims. Further, many of the Plaintiffs failed to plead any interference with their

  business interests.

        Fourth, Plaintiff D’Ambly’s new unauthorized claim for violation of the

  Labor-Management Reporting and Disclosure Act (29 U.S.C. § 530) must be

  dismissed for failure to state a cause of action. In its Opinion, the Court dismissed

  three of Plaintiffs’ claims against Defendant Exoo because they allege violations of

  four criminal statutes with no private right of action. See ECF No. 99, Opinion at

  20-21 (dismissing Counts IV, V and VI of the FAC). Plaintiffs responded by

  withdrawing those dismissed criminal claims and asserting a new claim based on a




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  fifth criminal statute which also has no private right of action. SAC at Count VII,

  ¶¶ 204-211.

        Finally, even if the counts in the SAC were properly plead, the SAC alleges

  actions which, if true, constitute speech protected by the First and Fourteenth

  Amendments to the United States Constitution and Article One, Section Six of the

  New Jersey State Constitution.

                             PROCEDURAL HISTORY

        On September 21, 2020, Plaintiff Daniel D’Ambly commenced the instant

  action. ECF No. 1. Defendant Exoo filed a motion to dismiss the initial complaint

  on December 6, 2020. ECF No. 41.

        On March 25, 2021, the Court Plaintiff D’Ambly’s motion to amend his

  Complaint to add the twelve new Plaintiffs. ECF No. 65. Plaintiffs filed the FAC

  on the same day. ECF No. 66. Defendant Exoo filed a motion to dismiss the FAC

  on April 22, 2021. ECF No. 79.

        On November 1, 2021, the Court granted Defendant Exoo’s motion to

  dismiss the First Amended Complaint. See Opinion and Order, ECF Nos. 99-100,

  annexed to the Declaration of Richard Torres as Exhibits A and B respectively.

  Specifically, the Court dismissed Plaintiffs’ claims against Defendant Exoo for

  Tortious Interference, Intrusion Upon Seclusion, Federal RICO, New Jersey RICO,

  and the three Counts asserted under four criminal statutes. In its Opinion and


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   Order, the Court afforded Plaintiffs limited “leave to file an amended pleading

   that remedies the identified deficiencies.” See ECF No. 100, Order (Emphasis

   added) See also ECF No. 99, Opinion at 23 (“Plaintiffs shall have thirty (30) days

   to file an amended complaint that cures the deficiencies noted herein.”)

   (Emphasis added).

           Plaintiffs filed the SAC on November 30, 2021, asserting the following four

   claims against Defendant Exoo: 1) Tortious Interference with Prospective

   Economic Benefit (Count II); 2) RICO (Count IV); 3) RICO Conspiracy (Count

   V), and 4) a new claim alleging violation of Section 610 of the LMRDA (29

   U.S.C. § 530) based on a new legal theory of liability without seeking leave to add

   the new claim.1

                                         STATEMENT OF FACTS

   A. Defendant Christian Exoo

           Defendant Exoo is one of more than 300 million Twitter users. The Exoo

   Tweets referenced in the SAC do not condone or advocate any form of violence.

   See generally Torres Decl. Exh. D, Exoo Tweets. Contrary to Plaintiffs’ assertions,

   nothing in the Exoo Tweets referenced in the SAC can plausibly be interpreted as

   predicate RICO acts or acts in furtherance of a RICO conspiracy. Further,




   1
     While the SAC erroneously cites this statute as 18 U.S.C. § 530, it is clear from the reference to the LMRDA and
   the quotation in paragraph 205 of the SAC that Plaintiffs are referring to 29 U.S.C. § 530.

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   Plaintiffs do not dispute the truthfulness of Mr. Exoo’s statements precluding

   liability for claims of tortious interference.

   B. Plaintiff Daniel D’Ambly and the NJ European Heritage Association

         Plaintiff Daniel D’Ambly is the leader of New Jersey European Heritage

   Association (“EHA”), an organization designated by the New Jersey Office of

   Homeland Security and Preparedness (“NJOHSP”) as a “white supremacist

   extremist group” and by the Southern Poverty Law Center as a “hate group.” See

   Exh. E-I, NJOHSP Terrorism Threat at 17 (describing the white supremacist

   recruitment activities of D’Ambly’s organization).2 See also Exh. D-II, Exoo-

   D’Ambly Tweets at 11-18, 39.3




   2
    Defendant Exoo requests that the Court take judicial Notice of the Terror Threat
   Assessment Reports (Exhs. E-I and II). See Fellner v. Tri-Union Seafoods, L.L.C.,
   Civil Action No. 06-CV-0688 (DMC), 2010 U.S. Dist. LEXIS 36195, at *19 n.8
   (D.N.J. Apr. 13, 2010) (taking judicial notice of publicly available governmental
   reports); In re Wellbutrin SR/Zyban Antitrust Litigation, 281 F. Supp.2d 751, 754
   (E.D. Pa. 2003) (taking judicial notice of FDA report posted on the official FDA
   website).
   3
     The Exoo Tweets (Torres Decl. Exh. C) and the information he reposted (Torres
   Decl. Exh. G) are incorporated by reference into the complaint. See SAC ¶¶ 1, 2,
   5-13, 16, 29, 30, 33, 34, 36, 37, 40, 43, 45-50, 52, 53, 55-57, 60, 64, 74, 78-82, 84,
   88-90, 93-95, 98, 99, 101, 102, 107, 108-111, 113-116, 119, 120, 122-124, 126,
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   189-193, 208, 210. See also Helios Streaming, LLC v. Vudu, Inc., 2020 U.S. Dist.
   LEXIS 82376, at *21 (D. Del. May 11, 2020) (granting motion to dismiss and
   finding that plaintiff mischaracterized letter incorporated by reference into the
   complaint).

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          Plaintiff D’Ambly admits his termination was based on his employer’s

   hostility to his white supremacist views. See SAC at ¶¶ 50 (noting D’Ambly’s

   employer’s report “included videos of D’Ambly and others using imprudent

   language during political rallies”), 151 (alleging discrimination because D’Ambly

   was terminated for his white supremacist views, while non-white employees were

   not punished or terminated for their “racially identifiable associations.”).

   Moreover, D’Ambly’s was only terminated after his employer confirmed

   D’Ambly’s active participation in a white supremacist extremist organization and

   noted that it found his use of the word “kike” objectionable.4

       Plaintiff D’Ambly alleges that Defendant Exoo was responsible for his

   termination because Exoo linked D’Ambly’s publicly

   available employment information with D’Ambly’s white

   supremacist activities on Twitter.com. SAC at ¶¶ 42-60, 64-

   69. However, Plaintiff D’Ambly exposed his own

   association with EHA by attending white supremacist

   extremist events like the EHA’s “Jew Walk” event in

   Princeton, New Jersey, the deadly Unite the Right rally in
                                                                    See Torres Decl. Exh. D-II at 18
                                                                    (D’Ambly holding “Expel the
   Charlottesville, Virginia, and the Unite the Right 2 rally.      Jew” sign)




   4
     See ECF No. 35 at 7 (D’Ambly’s counsel admitted that “D’Ambly was
   terminated for being an alleged “white supremacist,” because he was captured on
   video saying the word “kike.””).
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   See Torres Decl. Exh. D-II, Exoo-D’Ambly Tweets at 11, 12, 16, 17, 18, 21, 22,

   23. As shown in the Tweets, Plaintiff D’Ambly did not attempt to conceal his

   identity when he appeared in videos on EHA’s “Jersey Goyz 14” YouTube channel

   holding a handmade sign that read: “EXPEL THE JEW BY ’22.” (Emphasis in

   original). Id. at 22.

           Rather than accept responsibility for his own actions, D’Ambly blames

   Defendant Exoo for the consequences of his hateful extremist actions. As this

   Court has stated with respect to Plaintiffs’ including D’Ambly, “It seems as though

   Plaintiffs want to express their views without a negative impact on other aspects of

   their lives.” ECF. No. 99, Opinion at 1.

   C. The Proud Boys Plaintiffs

           Eight plaintiffs are current or former members of the violent hate group the

   Proud Boys (Plaintiffs Zachary Rehl, Wolkind, Schwetz, Hartley, Barbosa, Tucci,

   Scott and Reidinger, collectively, the “Proud Boys Plaintiffs”). See SAC at ¶ 14;

   FAC at ¶ 14. See also Torres Decl. Exh. D-III, Exoo-Scott Tweets. Two Plaintiffs

   are members of Plaintiff Zachary Rehl’s family (Amanda Rehl and K.R. Rehl) and

   their claims are based entirely on actions allegedly directed at Plaintiff Zachary

   Rehl.

           The Proud Boys are a male-only group of self-identified “Western

   chauvinists,” which has been identified as a “terrorist entity” and an “ideologically


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   motivated violent extremist group” by the Canadian government, a “designated

   hate group” by the Southern Poverty Law Center, and a “racist group” by Plaintiff

   Zachary Rehl, President of the Philadelphia Chapter of the Proud Boys. 5 The Proud

   Boys recently rose to ignominious international fame as a result of their alleged

   participation in and coordination of the attack on the United States Capitol which

   resulted in the arrest of more than two dozen of its members including Plaintiff

   Zachary Rehl for his alleged leadership role in the attack. See e.g., United States v.

   Nordean, 2021 U.S. Dist. LEXIS 246752, at **4-6 (D.D.C. Dec. 28,

   2021)(denying Rehl’s motion to dismiss and noting Rehl is alleged to have stated,

   “hopefully the firing squads are for the traitors that are trying to steal the election

   from the American people,” prior to allegedly leading a contingent to the east side

   of the Capitol building for the attack).

         Proud Boys’ leadership has explained the importance of identifying and

   locating individuals considered by them to be members of Antifa for the purpose of

   inflicting grievous bodily harm against them. In September 2019 (on or about the




   5
    See e.g., Torres Decl. Exh. D-IV, Exoo-Wolkind Tweets at 2-5; Torres Decl. Exh.
   D-V Exoo-Rehl Tweets at 2, 3, 6, 7, 8, 11, 12, 17, 19, 21, 22, 26, 27, 32, 34, 35,
   41. See also Public Safety Canada, Government of Canada lists 13 new groups as
   terrorist entities and completes review of seven others, Feb. 3, 2021, available at
   https://www.canada.ca/en/public-safety-canada/news/2021/02/government-of-
   canada-lists-13-new-groups-as-terrorist-entities-and-completes-review-of-seven-
   others.html (last visited Jan. 6, 2022).
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   date the initial Complaint in this action was filed), Proud Boys leadership

   announced a public call for violence,6 stating:

         We need to stop fighting antifa in the streets where the cops are and
         start fighting them in bars and alleys. We need to stomp them. We
         need to ruin their lives physically like they have ruined our lives
         financially with doxxing. We need to rack up their hospital bills. We
         need to use special operations tactics and lightning strike them.

         None of the Proud Boys Plaintiffs allege any connection between their

   claims and Defendant Exoo’s activities in the State of New Jersey.

         Plaintiff Zachary Rehl is President of the Philadelphia Proud Boys. He

   alleges that his personal information was first associated with his Proud Boys

   activities on or about August 2, 2017, resulting in the termination of his

   employment in September 2017. See SAC at ¶¶ 78-79. As set forth in the Exoo-

   Rehl Tweets, Defendant Exoo first referenced, Zachary Rehl on November 12,

   2018, citing Rehl’s statement that the Proud Boys are a “racist group.” See Torres

   Decl. Exh. D-V, Exoo-Rehl Tweets at 6, 20, 23, 24, 41 (“It’s not a rally for Proud

   Boys. We’re not interested in having any racist groups there.”). This was more

   than a year after Zachary Rehl alleges that he was first doxed. See SAC at ¶ 78.



   6
    The directive was issued by PB Chapter President, Charles Donohoe, a/k/a “Yut
   Yut Cowabunga,” Rehl’s co-defendant in the criminal conspiracy and obstruction
   case in connection with the attack on the U.S. Capitol. Kelly Weill, New Proud
   Boys Busted for Capitol Riot Have Wild Police Ties, Daily Beast (March, 20,
   2021) https://www.thedailybeast.com/new-proud-boys-charles-donohoe-and-zach-
   rehl-busted-for-capitol-riot-have-wild-police-ties (last visited Jan. 6, 2022).
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   Moreover, Defendant Exoo merely identified Zachary Rehl’s association with the

   Proud Boys. See Torres Decl. Exh. D-V Exoo-Rehl Tweets.

         Plaintiff Amanda Rehl is the wife of Zachary Rehl and Plaintiff K.R. is

   their minor daughter. Neither Amanda Rehl nor K.R. allege that they were

   identified or doxed at all. Id. at ¶¶ 88-96. Nor does the SAC include any allegations

   concerning Amanda Rehl’s employer. Id. at ¶¶ 88-91.

         Plaintiff Aaron Wolkind is described by Rehl’s criminal counsel in the

   Proud Boys obstruction and conspiracy case concerning the attack on the U.S.

   Capitol as Rehl’s “deputy” in the Philadelphia Chapter of the Proud Boys.7

   Wolkind alleges that his public Proud Boys activities were associated with his

   public employment information by Defendant Exoo on Twitter. SAC at ¶ 98.

   Defendant Exoo identified Wolkind as the “Sergeant at Arms of the Philadelphia

   Proud Boys,” and posted a photograph of Wolkind brandishing a can of mace at a

   Proud Boys rally. Torres Decl. Exh. D-IV, Exoo-Wolkind Tweets at 2, 6.

         Plaintiff Richard Schwetz alleges that his publicly available employment

   information was first associated with his Proud Boys activities in June 2020 by an

   unnamed person posting on Twitter using the handle “We Will Be Ruthless.” See

   SAC at ¶ 119. Plaintiffs allege that this Twitter user is “an Exoo associate,” but the


   7
    See Torres Decl. Exh. F., Accused Zachary Rehl’s Third Supplement in Support
   of his Renewed Motion for Release of Accused Zachary Rehl from Pre-trial
   Detention and Motion to Re-open Detention Hearing at 2.
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   SAC contains no allegations establishing any connection between them. Plaintiff

   Schwetz alleged that Exoo first shared Schwetz’s public information on Twitter on

   September 21, 2020, more than three months after Schwetz was doxed by a third-

   party. Id. at ¶¶ 119-120, Torres Decl. Exh. D-I, Exoo-Schwetz Tweets at 2.

         Defendant Exoo republished Schwetz’ public social media posts in which

   Schwetz brags about beating up “Antifags” and going undercover to obtain

   personal information including phone numbers and license plate numbers of

   journalists and individuals opposed to fascism for the purpose of doxing them. Id.

   at 2, 4, 5. Defendant Exoo also responded on Twitter to a request for assistance in

   identifying Plaintiff Schwetz in connection with a violent assault against a

   journalist at a Proud Boys rally. Id. at 13, 14.

         Plaintiff Hartley alleges that his public Proud Boys activities were

   associated with his public employment information by Defendant Exoo on Twitter.

   SAC at ¶¶ 6, 14, 108-111. See also Torres Decl. Exh. D-VI, Exoo-Hartley Tweets.

   The SAC does not include any allegations that Exoo disclosed Hartley’s home

   address or personal cell phone number. See SAC. at ¶¶ 108-111. Hartley alleges

   damage to his home occurred, but does not specify what was damaged or when

   other than to speculate that the damage was caused by Torch. Id. at ¶ 111.

         Plaintiff Tucci alleges that his publicly available employment information

   was associated with his public Proud Boys activities by Defendant Exoo on


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   Twitter. SAC at ¶¶ 113-16. Tucci publicly disclosed his own association with the

   Proud Boys on social media long before Defendant Exoo shared that information

   using the hashtag #proudboys and posting a picture of himself wearing a Proud

   Boys shirt. Torres Decl. Exh. D-VII, Exoo-Tucci Tweets at 2-5.

         Plaintiff Reidinger alleges that his publicly available employment

   information was associated with his public Proud Boys identity by Defendant Exoo

   on Twitter. SAC at ¶¶ 14, 122-124. In Defendant Exoo’s Tweets concerning

   Reidinger, incorporated by reference into the SAC, Exoo identified Reidinger as

   Sergeant at Arms for the Harrisburg, PA Chapter of the Proud Boys. Torres Decl.

   Exh. D-VIII, Exoo-Reidinger Tweets at 2. Exoo also identified Reidinger’s

   employer and republished portions of Reidinger’s public social media pages in

   which Reidinger identifies himself as a Proud Boy and a “domestic terrorist.” Id. at

   3, 4, 14 (wearing a shirt saying “DOMESTIC TERRORIST” at 3).

         Plaintiff Barbosa alleges that his public employer contact information was

   associated with his Proud Boys activities by Defendant Exoo. SAC at ¶ 9, 14, 125-

   131. As shown in the Exoo Tweets, Barbosa made no effort to conceal his identity

   when conducting activities on behalf of the Proud Boys. See Exh. D-IX, Exoo-

   Barbosa Tweets at 2, 3. Moreover, the Exoo-Barbosa-Tweets, incorporated by

   reference into the SAC, show that Exoo did not disclose Plaintiff Barbosa’s home

   contact information, his personal phone number, or his wife’s personal phone


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   number. Moreover, the SAC does not identify any person who allegedly disclosed

   this information or even the time when such information was released. See SAC at

   ¶ 131.

            Plaintiff Scott alleges that Defendant Exoo disclosed his publicly available

   information on Twitter. SAC at ¶¶ 12, 133-136. As indicated in the Exoo Tweets, a

   group called Puget Sound Anarchists in a local Washington State Community Alert

   webpage first exposed many of Scott’s vile anti-Semitic statements and Scott’s

   efforts to dox individuals who are opposed to fascism. Torres Decl. Exh. D-III,

   Exoo-Scott Tweets; Exh. H. Puget Sound Anarchists Community Alert

   incorporated by reference into the SAC. The local Community Alert including

   information concerning Plaintiff Scott’s Nazi and Proud Boys activities was

   republished on Twitter by a user named WANaziWatch. Exh. G, WANaziWatch

   Tweets (“POLITELY ask whether sending a neo-Nazi into people’s homes and

   neighborhoods is appropriate.”). Defendant Exoo was one of many individuals

   who reported on this disclosure third hand. See Torres Decl. Exh. D-III, Exoo-

   Scott Tweets; Exh. G. On September 19, 2019, Scott’s employer confirmed his

   termination and thanked Twitter users for sharing their concerns about Scott. See

   Torres Decl. Exh. G, WANaziWatch Tweets at 11.




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   D. Plaintiff Hugo and Super Happy Fun America

          Plaintiff Hugo is a former congressional candidate, public figure and

   President of Super Happy Fun America (“SHFA”) who was featured on national

   television programs using his real name prior to alleging that he was doxed.8

   Several members of SHFA’s leadership, including its Vice President, have been

   charged for their participation in the January 6th attack on the U.S. Capitol. See

   Torres Decl. Exh. I, Sahady Complaint Affidavit. Hugo described the arrestees as

   “freedom fighters” and boasted that SFHA’s membership has swelled 50% since

   the attack on the U.S. Capitol.9 From the stage of an SHFA “rally” in front of the

   Massachusetts State House, Plaintiff Hugo riled up the mob by calling for

   insurrection (“It is time to rise up. It is time for insurrection.”). 10

          Plaintiff Hugo alleges that Defendant Exoo associated Hugo’s public SHFA

   activities with his public employment information and labeled him a fascist and



   8
     See e.g., https://video.foxnews.com/v/6046132420001#sp=show-clips (“John
   Hugo: Straight Pride Parade Organizer”) (last visited January 6, 2022).
   9
     See Abigail Hauslohner, After Its Members Were Charged in Capitol Riot, One
   Group Says It Is More Popular Than Ever, Washington Post, April 8, 2021,
   available at https://www.washingtonpost.com/national/capitol-riot-
   group/2021/04/07/5a77bf7e-8cc6-11eb-a730-1b4ed9656258_story.html (last
   visited Jan. 6, 2022).
   10
      See Zoe Greenberg and Laura Crimaldi, Smiling on the outside: Super Happy
   Fun America always claimed to be kidding. But the group’s history suggests
   otherwise, Boston Globe, February 20, 2021 available at
   https://apps.bostonglobe.com/metro/politics/2021/02/super-happy-fun-america/
   (last visited Jan. 6, 2022).
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   white supremacist. In fact, the Exoo Tweets concerning Plaintiff Hugo accurately

   identified Hugo’s employer’s contact information and accurately identified Hugo

   as a “former GOP Congressional candidate and organizer of the Boston Straight

   Pride Parade, an event with hate group ties.” Torres Decl. Exh. D-X, Exoo-Hugo

   Tweets at ¶ 3, 4, 9. Hugo alleges that he receives “harassing phone calls from

   enterprise associates on a nearly daily basis” but provides no details as to what

   those calls are in the papers or how they are connected to Defendant Exoo. SAC at

   ¶ 140. While Plaintiffs stated that audio recordings of these calls would be

   provided to the Court and to Defendants’ counsel, Plaintiffs failed to produce those

   recordings to Defendant Exoo’s counsel and they have received no notice that the

   information has been provided to the Court. See SAC at fn. 20; Torres Decl. at ¶¶

   14-16.

   E. Plaintiff Louden and His Violent Militia Groups

         Plaintiff Louden alleges that his employer’s contact information was

   associated with his public militia activities by Defendant Exoo on Twitter. SAC at

   ¶¶ 13, 142-147. Defendant Exoo republished Louden’s public profiles on

   Linkedin.com, CivilianDefenseForce.com and mymilitia.com. Torres Decl. Exh.

   D-XI, Exoo-Louden Tweets at 3, 5, 9, 10, 11, 12, 14, 17, 27, 34 (noting that

   Louden used his real name on his militia and Civilian Defense Force profiles until

   his public calls for violence intensified, when he changed his profile name to


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   “Mars,” the ancient Roman God of War). Exoo also republished several of Plaintiff

   Louden’s statements concerning his violent conspiracy theories, Louden’s efforts

   to form his own armed militia unit, and Louden’s efforts to recruit a “top sniper”

   for this unit. Id. at 3, 4, 6, 7, 8, 9, 10, 11, 13, 28, 33.

          Exoo tweeted Louden’s employers’ public contact information and showed

   how he was able to identify Louden as the individual promoting violent conspiracy

   theories online. Id. The Exoo-Louden Tweets clearly did not reveal Loudens’ home

   address, or the coordinates of his home. In fact, certain personally identifying

   information including Louden’s address and vehicle license plate number were

   redacted before this publicly available information was republished by Exoo. Id.

          Plaintiff Louden maintains that he was terminated from his job in the health

   care industry after being “quizzed” about his membership in extremist militia

   groups. SAC at ¶ 145. Rather than take responsibility for his own poor life choices,

   Plaintiff Louden blames Defendant Exoo, Twitter, and an esteemed university.

   F. Plaintiffs’ New Allegations in the SAC

          The SAC adds new unauthorized Defendants to the case, asserts a new claim

   against Defendant Exoo, and adds a new legal theory of liability to the case. The

   SAC also provides additional allegations which do not advance Plaintiffs’ claims

   in any way but only show how the claims in this case are patently implausible.




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         First, Plaintiffs added two new Defendants: Torch Antifa Network (“Torch”)

   and Nick Strickland. Plaintiffs fail to draw any plausible connection between

   Torch and any events alleged in the SAC. Plaintiffs frequently ascribe conduct to

   Torch and then show tweets from various Twitter user accounts. Plaintiffs do not

   show that these Twitter users are in anyway associated with Torch. SAC at ¶¶ 103-

   105, 110, 114, 122, 126, 134-136. The only plausible allegations concerning Torch

   is a statement to the effect that Torch does not like Defendant Exoo and will never

   associate with him. See Plaintiff’s Exh C. These allegations fail to make Plaintiffs’

   claims against Defendant Exoo or the existence of a conspiracy among the

   Defendants any more plausible than the claims dismissed in the FAC.

         Second, Plaintiffs add facts learned from online news article headlines and

   baselessly ascribe that conduct to Defendants. Plaintiffs describe an incident where

   three individuals allegedly assaulted a group of Marine Reservists. SAC ¶¶ 85-86.

   The alleged assailants and the Marines are not parties to this litigation. Plaintiffs

   provide no plausible basis for their assertion that these assailants were associated

   with Exoo, Twitter, St. Lawrence or any Defendants. Similarly, Plaintiffs describe

   an incident concerning a tavern operated by non-parties to the litigation which was

   allegedly vandalized. See SAC at ¶¶ 103-105. Plaintiffs ascribe this vandalism to

   Torch, but the SAC provides no plausible connection between the alleged vandals

   and any Defendants.


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         Third, Plaintiffs seem to suggest that the actress, comedian, and archenemy

   of right-wing extremists Kathy Griffin is somehow involved in this matter by

   pointing out that she retweeted one of Mr. Exoo’s Tweets. See SAC ¶ 126. What

   Plaintiffs actually illustrate is that a Twitter retweet does not plausible imply that

   individuals, acting independently, are necessarily working together or even know

   one another and certainly do not serve as the basis for a RICO enterprise or RICO

   conspiracy.

         Fourth, Plaintiffs highlight a similar series of threadbare connections to tie

   the unrelated Defendants together into their conspiracy theory. For instance,

   Plaintiffs allege that Defendant Exoo, a Twitter user with more than 53,000

   followers, is connected to Defendant Twitter because he uses Twitter and someone

   he knows once received a response from a message to Twitter’s CEO. See SAC at

   ¶180. Plaintiffs also claim to have identified a person who called D’Ambly’s

   employer and maintain that person sent messages complaining about D’Ambly’s

   association with EHA to both Defendants Exoo and the Daily News. All that

   Plaintiffs demonstrate is that more than one person dislikes D’Ambly and disagrees

   his white supremacist views. This does not constitute a RICO conspiracy or a

   RICO enterprise.




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                                      ARGUMENT

   A. Legal Standard

         For the purpose of deciding the instant motion, the Court must take all

   alleged facts as true. Phillips v. Cty. of Allegheny, 515 F.3d 224, 233 (3d Cir.

   2008). Nevertheless, the Court need not accept as true inferences unsupported by

   facts set out in the complaint or legal conclusions cast as factual allegations. “A

   claim has facial plausibility when the plaintiff pleads factual content that allows

   the court to draw the reasonable inference that the defendant is liable….” Ashcroft

   v. Iqbal, 556 U.S. 662, 678 (2009). See also, Magnum v. Archdiocese of Phila.,

   253 F. App’x 224, 225 (3d Cir. 2007). To survive the motion, Plaintiffs must have

   alleged plausible facts sufficient to establish that they may eventually be entitled to

   redress such that one or more of their claims should be allowed to proceed to

   discovery, summary judgment motion practice, and, potentially, a trial on the

   merits. Issaschar v. Eli Am. Friends of the Isr. Ass'n for Child Prot., 2014 U.S.

   Dist. LEXIS 23411, at *3 (E.D. Pa. Feb. 24, 2014).

         In determining the motion, the Court may consider documents incorporated

   by reference into the complaint. In re Amarin Corp. PLC Sec. Litig., 689 F. App'x

   124, 128 n.6 (3d Cir. 2017). The Court may also take judicial notice of certain

   documents outside the four corners of the complaint. United States v. Kindred

   Healthcare, Inc., 469 F. Supp. 3d 431, 438 n.3 (E.D. Pa. 2020).


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   B. Counts IV and V For RICO Violations Must be Dismissed

            To establish a claim for RICO, a plaintiff must show “(1) conduct (2) of an

   enterprise (3) through a pattern (4) of racketeering activity.” Sedima, S.P.R.L v.

   Imrex Co., 473 U.S. 479, 496 (1985). The statute defines racketeering by a list of

   criminal activities that constitute predicate acts for purposes of RICO. Warden v.

   McLelland, 288 F.3d 105, 114 (3d Cir. 2002).

            The Court dismissed the RICO charges in the FAC because Plaintiffs failed

   to satisfy the predicate act requirement. See ECF No. 99, Opinion at 6-8. The Court

   noted,

            without sufficient predicate acts, Plaintiffs cannot plausibly allege that
            there was a pattern of racketeering activity. Plaintiffs’ substantive
            federal RICO claim therefore fails. In addition, because Plaintiffs fail
            to establish a substantive RICO claim, their RICO conspiracy claim
            must also be dismissed.

            In the SAC, Plaintiffs simply refiled the same claims without alleging

   predicate acts necessary to establish a pattern of RICO activity.

            1. Plaintiffs Failed to Allege Requisite Predicate Acts in Furtherance of a
               Conspiracy (Count IV)

            Establishing a racketeering conspiracy requires the commission of two or

   more predicate criminal acts under RICO, 18 U.S.C. 1962(c). Pioneer Contracting,

   Inc. v. E. Exterior Wall Sys., No. 04-cv-01437, 2005 U.S. Dist. LEXIS 5197, at *4

   (E.D. Pa. Mar. 30, 2005) (dismissing RICO claim where plaintiff failed to properly


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   allege predicate acts). Plaintiffs have alleged none. Count IV of the SAC alleges

   violations of 18 U.S.C. §§ 1951 (the “Hobbs Act”) and 1952 (the “Travel Act”).

             a. Plaintiffs Failed to Plead Robbery or Extortion

         First, Plaintiffs fail to satisfy the predicate act requirement under the Hobbs

   Act because the facts as alleged do not constitute robbery or extortion. The Hobbs

   Act provides, in part:

         Whoever in any way or degree obstructs, delays, or affects commerce or the
         movement of any article or commodity in commerce, by robbery or
         extortion or attempts or conspires so to do, or commits or threatens physical
         violence to any person or property in furtherance of a plan or purpose to do
         anything in violation of this section ….

   18 U.S.C. § 1951(a).

         This court held, “[p]laintiffs repeatedly allege that they were extorted by

   Defendants. But, as pled, no Plaintiff was the victim of extortion because extortion

   requires “the obtaining of property from another.”” See ECF No. 99, Opinion at 6-

   7. Plaintiffs still do not allege anything was taken from them. In Scheidler v. NOW,

   Inc., 537 U.S. 393, 405 (2003)(“Scheidler I”), the Supreme Court held,

   “eliminating the requirement that property must be obtained to constitute extortion

   would not only conflict with the express requirement of the Hobbs Act, it would

   also eliminate the recognized distinction between extortion and the separate crime

   of coercion -- a distinction that is implicated in these cases.” Id. Moreover, the

   Supreme Court has held that even actual acts of physical violence do not satisfy the


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   predicate act requirement where those acts of violence are unrelated to robbery or

   extortion. Scheidler v. NOW, Inc., 547 U.S. 9, 16 (2006) (“Scheidler II”) (“We

   hold that physical violence unrelated to robbery or extortion falls outside the scope

   of the Hobbs Act.”). Similarly in Int'l Ass'n of Machinists v. Jackson, No. 09-150,

   2010 U.S. Dist. LEXIS 15885, at *21-22 (E.D. Pa. Feb. 19, 2010), the plaintiff

   asserted a RICO claim against defendants in connection with the loss of his

   employment. The claim was dismissed because “the complaint d[id] not allege that

   the Individual Defendants obtained Plaintiffs’ jobs.” Id.

         Despite the Court’s admonishment, Plaintiffs continue to accuse Exoo of

   extortion. See e.g., SAC at ¶¶ 48, 152, 199. Plaintiffs claim Exoo’s goal was to

   “extort D’Ambly’s termination.” Id. However, the pleading contains no actual

   allegations of extortion. Plaintiffs fail to allege that Defendant Exoo or anyone else

   tried to obtain for themselves Plaintiffs’ jobs or any other property. This is the

   same defect that proved fatal to Plaintiffs’ RICO claims in the FAC. See Opinion at

   6-7. Plaintiffs’ allegations in the SAC are implausible and fail to state a claim

   under the Hobbes Act.

             b. No allegations of an unlawful activity were plead to sustain a claim
                under the Travel Act

         Plaintiffs fail to allege any predicate act defined by the Travel Act. The

   Court previously found that they failed to allege any violation of the Travel Act:



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        The Travel Act, 18 U.S.C. § 1952, applies to certain “unlawful acts.” 18
        U.S.C. § 1952(a). Broadly speaking, an unlawful act involves (1) a business
        enterprise involving gambling, liquor, narcotics, or controlled substances as
        well as unlawful prostitution offenses; (2) extortion, bribery, or arson; or (3)
        indictable offenses involving money laundering. 18 U.S.C. § 1952(b)…
        Nothing in Amended Complaint suggests that any member of the purported
        Exoo Enterprise engaged in unlawful activity as defined by the Travel Act.
   See Opinion at 7-8

         Plaintiffs made no effort to cure the FAC to set forth a violation of the

   Travel Act. They simply reiterated the dismissed count. Because Plaintiffs fail to

   plausibly allege any RICO predicate acts under the Travel Act or the Hobbs Act,

   the RICO claims should be dismissed with prejudice for failing to allege a pattern

   of racketeering activity.

         2. Plaintiffs Failed to Allege the Existence of RICO Enterprise

         Plaintiffs also fail to plausibly allege the existence of a RICO enterprise. A

   RICO enterprise is defined in 18 U.S.C. § 1961 (4) as: “any individual,

   partnership, corporation, association, or other legal entity, and any union or group

   of individuals associated in fact although not a legal entity.” A RICO enterprise,

   “must have at least three structural features: a purpose, relationships among those

   associated with the enterprise, and longevity sufficient to permit these associates to

   pursue the enterprise’s purpose.” Boyle v. U.S, 556 U.S. 938, 946 (2009).

         Plaintiffs fail to clearly identify the known members of the enterprise and

   each member’s role within the enterprise. Both RICO counts, Counts IV and V,


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   allege violations “against defendants Christian Exoo a/k/a “AntiFashGordon,” St.

   Lawrence University, Vijaya Gadde, and Twitter, Inc.” Plaintiffs do not assert

   Counts IV and V against Defendants Torch or Strickland (or comedian Kathy

   Griffin, for that matter). In fact, Strickland and Torch are not identified as

   Defendants under any Counts in the SAC.

         Plaintiffs fail to plausibly allege facts from which to find that Exoo has a co-

   conspirator relationship with Twitter or Gadde. Plaintiffs try to infer a relationship

   because Gadde and Twitter are opposed to white supremacy. SAC at ¶ 181.

   Opposition to fascism and white supremacy is hardly unique and does not imply

   that all those who share that view are acting in concert. When required to plausibly

   explain the connection between the alleged co-conspirators in more detail,

   Plaintiffs failed miserably. See SAC at ¶180 (alleging that Exoo is connected to

   Twitter’s CEO because the CEO once responded to a message from one of Exoo’s

   alleged acquaintances).

         Similarly, Plaintiffs fail to plausibly allege a co-conspirator relationship

   between Defendant St. Lawrence University and Defendant Exoo. St. Lawrence is

   merely Exoo’s employer. Plaintiffs allege, “Exoo uses his employment and

   lecturing at St. Lawrence to recruit.” SAC at ¶ 175. To substantiate this, Plaintiffs

   attach images of Tweets where Mr. Exoo states that he teaches OSINT (Open-

   Source Intelligence) workshops concerning his lawful investigative techniques and


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   a tweet by GCMLP (The Global Media Literacy Project) showing a picture of Mr.

   Exoo seeming to give a presentation. Plaintiffs also allege that Saint Lawrence is

   opposed to “white nationalism.” SAC at ¶ 174. These allegations fail to set out a

   conspiracy to violate the RICO Act.

         Plaintiffs added Torch as a defendant based on a statement in which Torch

   criticizes Defendant Exoo. See Plaintiff’s Exh. C. Plaintiffs do not plausibly allege

   any actions by Defendant Torch, but merely makes conclusory statements that

   Torch was somehow responsible for property damage and crimes alleged in

   newspaper articles which make no mention of Torch. See e.g., SAC at ¶¶ 83

   (alleging Defendant Torch vandalized Rehl’s window), 85-86 (citing news articles

   concerning an assault which make no reference to Torch), 103-105 (citing West

   Philly.com news article and several Twitter Tweets which make no reference to

   Torch), 111 (alleging Torch “members caused damage to Hartley’s home, which is

   what they consider to be self-protection.”). All that is plausibly alleged of the

   relationship between Exoo and Torch is that Torch put out a statement that it does

   not like Defendant Exoo and wishes to distance itself from him. Plaintiffs Exh. C.

         Moreover, Plaintiffs’ allegations concerning Defendant Strickland do not

   support their claim for the existence of a RICO enterprise or a RICO conspiracy.

   Plaintiff D’Ambly publicly organized a march for EHA for January 12, 2019,

   called the “It’s okay to be white…protest march.” SAC ¶ 51. It is alleged that Mr.


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   Exoo was asking people to counter protest this march and tweeted after the march

   was cancelled, “Regardless, I’m going to spend the next week wrecking your

   fucking life, Dan D’Ambly.” Id. at ¶¶ 52, 53, 55, 60.

          Plaintiff D’Ambly alleged three things about Strickland. First, D’Ambly

   alleges Strickland replied to a tweet sent by Exoo to his thousands of followers

   with a photograph of an EHA poster that states, “THE WHITE RACE EARTH’S

   MOST ENDANGERED SPECIES Help preserve it.” On Strickland’s EHA flyer,

   there was a telephone number (848) 252-0468. Strickland captioned the photo,

   “@RacismDog I’m seeing these posted all over. I hate these guys. I’m pretty sure

   they kick puppies.” Id. at ¶ 63. It seems from this post that Mr. Strickland came to

   learn of EHA and come into possession of an EHA flyer with D’Ambly’s phone

   number through EHA’s extensive white supremacist propaganda campaign rather

   than from a conspiracy with Twitter or any of the other Defendants. Indeed,

   Plaintiffs do not allege that Exoo disclosed D’Ambly’s personal phone number at

   all.

          Second, Plaintiffs allege that someone using a phone number that belongs to

   Strickland made a single phone call to the Daily News where the caller is alleged

   to have said “if [The Daily News] continued to employ D’Ambly the Daily News

   was responsible for ‘any violence or blood spilled is also on your hands.” SAC ¶

   57. In its Opinion dismissing the claims in the FAC against Defendant Exoo, this


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   Court required D’Ambly to provide more factual support for the context of the

   statement. The Opinion notes:

         The reference to any violence or blood spilled could support a finding of
         wrongful and intentional interference, but more factual support is needed. It
         is not clear to the Court whether the callers were referring to D’Ambly’s
         blood being spilled or violence as to him, to D’Ambly engaging in violence,
         or to some other activity or persons. Consequently, this allegation does not
         sufficiently allege wrongful conduct.

   See Torres Decl. Exh. A, Opinion at 17.

         Plaintiffs failed to provide any further context for the call as requested by the

   Court. Plaintiffs stated that a USB thumb drive with the recording would be

   provided to defense counsel and to the Court. See SAC at footnote 19. As noted

   above, Plaintiffs failed to produce any recordings or any other documents to

   Defendant Exoo’s Counsel. Moreover, Exoo’s Counsel has not received any notice

   that any recordings or other documents have been produced to the Court. See

   Torres Decl. at ¶¶ 14-16.

         Finally, Plaintiffs allege that someone using Strickland’s phone number sent

   a text message to D’Ambly’s number stating, “[s]o your thing went well today?

   Did you guys get there ok?” Id. at 61. Plaintiffs fail to indicate whether D’Ambly’s

   phone number is the same as the number on the flyer that Strickland tweeted about.

   Id. at 63 (including an EHA flyer with the number (848) 252-0468 and

   conveniently redacted that portion of the police report annexed to the SAC as

   Plaintiff’s Exh. E). Moreover, based on the context of the E-mail, it appears that

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   Strickland was referring to EHA’s January 12, 2019, white supremacist rally which

   was cancelled by EHA (asking “did you guys get there”) (emphasis added).

         D’Ambly alleges that his car was damaged prior to the scheduled rally and

   he identified a non-defendant schoolteacher named Martha Friend who he claimed

   posted a photo of his car online in November. Plaintiff’s Exh. E. The call, the text

   message and the keying of the car all occurred at a time when D’Ambly was

   making headlines in connection with the well-publicized eleventh-hour

   cancellation of his white supremacist rally. See Torres Decl. Exh. D-II Exoo -

   D’Ambly Tweets at 31, 34, 36, 38. Hundreds of people turned out to counterprotest

   against D’Ambly’s white supremacist rally. See id. at 36 (noting on January 11,

   2019, that Black Lives Matter had applied for a permit to counterprotest

   D’Ambly’s event). EHA basked in the negative attention it received on that day,

   taking to Twitter to thank, “the Jewish Supremacist news outlets and many other

   communist snowflakes for making [EHA] a household name.” See id. at 38.11 In




   11
     Numerous politicians issued statements in opposition to EHA and in support of
   the counterprotest. The Mayor of Princeton stated, “We stand in opposition to this
   twisted attempt to spew hate.” See Nick Muscavage, Hundreds turn out in
   Princeton to rally against white supremacy, Courier News and Home News Trib.,
   (Jan 9, 2019) (available at)
   https://www.mycentraljersey.com/story/news/local/2019/01/12/hundreds-turn-out-
   princeton-rally-against-white-supremacy/2547103002/ (“There were no white
   supremacists rallying, as was planned on Saturday, but instead hundreds of people
   marching against hate.”)(last visited Jan. 6, 2022).
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   light of EHA’s headline-grabbing activities on that day, the convergence of

   unfortunate events for D’Ambly at that time is not surprising.

         Defendant Exoo has more than fifty thousand Twitter followers. A random

   person’s response to a public social media posting to more than 50,000 users

   stating that he dislikes a notorious white supremacist does not show a common

   purpose necessary to establish a RICO enterprise. Moreover, other than the

   allegation that Nick Strickland was one of more than a hundred million Twitter

   users, Plaintiffs fail to connect Strickland to any of the other Defendants. Plaintiffs

   offer no details for their claim that there is an association among the Defendants

   other than farfetched, unsubstantiated, conclusory connections that exist only in

   Plaintiffs’ papers. Moreover, Plaintiffs have failed to plausibly allege a sufficient

   causal link between Defendants’ actions and any harm they claim to have suffered.

   Anza v. Ideal Steel Supply Corp., 547 U.S. 451, 453 (2006) (noting a plaintiff may

   only sue under RICO where the alleged RICO violation was the proximate cause of

   the plaintiff’s injury). By Plaintiffs’ own admission, they can only guess as to who

   was responsible for the damage and D’Ambly suggested that non-party, Ms.

   Friend, may be responsible.

         Moreover, the SAC asserts no plausible allegations concerning the structure

   of the alleged enterprise and does not plausibly allege any “agreement” among co-

   conspirators. The SAC does not remotely suggest that Exoo, Twitter, Gadde, and


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   St. Lawrence combined as a unit or acted in concert for a common purpose.

   Plaintiffs also fail to establish longevity of the alleged enterprise. Mr. Exoo is a

   Twitter user who posts about what he believes are important social issues and,

   according to the SAC, identifies the real-world identities of right-wing extremists.

   The facts that he has a day job, uses Twitter, or even reaches a substantial audience

   on social media does not give rise to a RICO enterprise.

         3. Plaintiffs Failed to Allege a RICO Conspiracy (Count V)

         Where a plaintiff fails to state a claim for violation of the federal RICO

   statute, “it follows that the Complaint also fails to state a claim for conspiracy to

   violate th[is] statute [].” Zazzali v. Hirschler Fleischer, P.C., 482 B.R. 495, 516-17

   (D. Del. 2012), citing Zavala v. Wal-Mart Stores, Inc., 691 F.3d 527 (3d Cir.

   2012) (affirming dismissal of RICO and conspiracy to commit RICO claims

   because complaint did not adequately allege predicate acts required for RICO

   claims). See also Binary Semantics Ltd. v. Minitab, Inc., 2008 U.S. Dist. LEXIS

   28602, at *13 (M.D. Pa. Mar. 20, 2008) (stating that a RICO conspiracy claim

   “necessarily fails due to failure to state a claim under RICO”). In this case,

   Plaintiffs failed to state a claim under RICO, therefore, the RICO conspiracy claim,

   18 U.S.C. § 1962(d) should be dismissed with prejudice.




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         4. Plaintiff Should be Required to Submit a RICO Statement pursuant to
            Local Civil Rule 16.1(b)(4)

         In the event that the Court’ permits Plaintiffs to take a fourth bite at the

   apple and file a Third Amended Complaint, Plaintiffs should be Ordered to file a

   RICO case statement pursuant to Local Civil Rule 16.1(b)(4). See Northland Ins.

   Co. v. Shell Oil Co., 930 F. Supp. 1069, 1076 (D.N.J. 1996) (“the RICO Case

   Order is supported by Congressional act, federal and local rule.”). Such a ruling

   can “aid plaintiffs in framing their claims with particularity sufficient for the

   requirements of the RICO statute.” Northland, 930 F. Supp. at 1073. See Rothberg

   v. Marger, 2012 U.S. Dist. LEXIS 71088, at *9 (D.N.J. May 21, 2012) (“Because

   Defendants’ motions to dismiss Plaintiffs’ RICO claim focus on Plaintiffs’ failure

   to allege a pattern of racketeering activity and failure to allege a specific predicate

   statute, [] the Court orders Plaintiffs to file” a RICO case Statement.”).

   C. Plaintiffs Whose Claims Have No Connection to New Jersey Must Be
      Dismissed from the Action for Lack of Personal Jurisdiction

         Plaintiffs’ federal RICO claims are the only claims that provide for

   nationwide personal jurisdiction over Defendant Exoo. The dismissal of the federal

   RICO claims requires the dismissal of all claims asserted by all Plaintiffs other

   Plaintiff D’Ambly against Defendant Exoo for lack of personal jurisdiction

   pursuant to F.R.C.P. Rule 12(b)(2). Absent specific jurisdiction for their personal

   claims, a plaintiff may not tag along in a federal action merely because one or


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   more other plaintiffs can satisfy the minimum contacts requirements. See Bristol-

   Myers Squibb Co. v. Superior Court, 137 S. Ct. 1773, 1782 (2017). Defendant

   Exoo lives and works in New York. See Torres Decl. Exh. C, Exoo Decl. at ¶ 3-8,

   11. He has no connection to the State of New Jersey sufficient to subject him to

   general or specific jurisdiction with respect to the twelve non-resident Plaintiffs’

   claims. Id. In its Opinion dismissing the FAC, the Court agreed with the holding in

   Bristol-Myers Squibb. See Opinion at 11-14. (“[A]ll Plaintiffs except for D’Ambly

   fail to demonstrate a sufficient connection between New Jersey, their claims, and

   Exoo.”). The Court should do the same on this motion and dismiss all claims of the

   non-New Jersey Plaintiffs with prejudice.

   D. Count II For Tortious Interference Must Be Dismissed

         This court dismissed the Plaintiff D’Ambly’s claim for tortious interference

   ruling that he failed to allege that what was said of him was untruthful and for

   failing to allege the element of improper activity. See ECF No. 99, Opinion at 14-

   16. This defect was not cured for D’Ambly or any of the other Plaintiffs.

         This Court found that Plaintiff D’Ambly’s failure to dispute the truth of

   Exoo’s alleged claims proves fatal to his claim for tortious interference:

         However, “it is generally recognized that a party may not be liable for
         tortious interference for merely providing truthful information to one of the
         contracting parties.” … In short, it does not appear that D’Ambly is claiming
         that Exoo defamed him or otherwise spread false information about
         D’Ambly.


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   Opinion P. 14-16 (citations omitted).

         Plaintiffs still do not allege Mr. Exoo made untruthful statements. “The

   communication of truthful information does not constitute improper interference

   with another’s contractual relationships.” Atiyeh Publ’g, LLC v. Times Mirror

   Magazines, Inc., 2000 U.S. Dist. LEXIS 18728, at *7-8 (E.D. Pa. Dec. 7, 2000),

   citing Yaindl v. Ingersoll-Rand Co. Standard Pump-Aldrich Div., 281 Pa. Super.

   560 n.12 (Pa. Super. 1980). Moore v. Hoff, 821 N.W.2d 591, 599 (Minn. Ct. App.

   2012) is directly on point. In that case, the Minnesota Supreme Court held that an

   online blogger could not be liable for tortious interference with the plaintiff’s

   employment contract when the plaintiff was fired from his job after the blogger

   exposed truthful information concerning the employee’s conduct as that is

   constitutionally protected speech. See id. at 599. “Because truth is an absolute

   defense to a claim for defamation … truth should also be a defense to a claim

   for tortious interference with a contract arising out of an allegedly defamatory

   statement.” Id. at 596-97.

         Article One, Section Six of the New Jersey Constitution explicitly provides

   that truth is an absolute defense to defamation claims under New Jersey law.

   Similarly, truth must be an absolute defense to a claim for tortious interference

   with business contracts. Providing truthful information to employers about the

   conduct of their employees does not constitute interference with economic


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   opportunity. Restatement (Second) of Torts § 772(a) (1977) (“One who

   intentionally causes a third person not to perform a contract . . . does not interfere

   improperly with the other’s contracted relation, by giving the third person truthful

   information”). See also E. Penn Sanitation, Inc. v. Grinnell Haulers, Inc., 294 N.J.

   Super. 158, 180 (1996) cert. denied, 148 N.J. 458 (1997).

         Moreover, most Plaintiffs including Hartley, Tucci, Schwetz, Reidinger,

   Wolkind, and Amanda Rehl fail to identify how Defendant Exoo interfered with

   their economic opportunity. ¶¶ 83-121. Indeed, paragraphs referencing Amanda

   Rehl provide no information about her employment, much less her loss of

   employment. ¶¶ 87-91. Plaintiffs merely conclude without factual allegations

   concerning these Plaintiffs that Exoo caused “Plaintiffs’ employers to terminate

   their employment.” SAC at ¶ 159. In addition, Defendant Exoo first mentioned

   Zachary Rehl more than a year after Plaintiffs alleges Rehl was terminated. See

   Torres Decl. Exh. D-V, Exoo-Rehl Tweets at 6.

         With respect to Plaintiff D’Ambly’s tortious interference claim brought

   solely against Defendant Exoo, the Court requested more detail about a call to

   D’Ambly’s employer in support of the tortious interference claim. See ECF No. 99,

   at 17 (noting “it is not clear to the Court whether the callers were referring to

   D’Ambly’s blood being spilled or violence as to him, to D’Ambly engaging in

   violence, or to some other activity or persons”). See ECF No. 99 at 17. Plaintiff


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   D’Ambly identified the phone number and a name associated with that number.

   See SAC at ¶¶ 57-63. D’Ambly does not allege that Exoo was the caller or that the

   call was made from Exoo’s number. Moreover, Plaintiffs failed to provide the

   context of the statement as the Court directed. As noted above, despite Plaintiffs’

   statement that they would provide audio recordings of the voice mail message to

   the Court and Defendants’ Counsel (SAC at ¶ 23, footnote 19), Plaintiffs failed to

   produce the recording to provide context for the statement.

   E. There Is No Private Right of Action for 29 U.S.C. § 530

         Count VII alleges a violation of Section 610 of the Labor-Management

   Relationship Disclosure Act (LMRDA), 28 U.S.C. § 530. Section 530 is a criminal

   statute that provides for a fine and imprisonment, but not civil monetary relief.

   Plaintiffs learned no lesson from this Court’s Opinion dismissing the claims in the

   FAC against Defendant Exoo. Plaintiffs were informed quite clearly that criminal

   statutes do not create a private right of action unless the statute explicitly creates

   such a right. See ECF No. 99, Opinion at 20.

         It is well-settled that there is no private of action for violations of Section

   610 of the LMRDA (29 U.S.C. § 530) (providing for fine and imprisonment as the

   statute’s only remedies). See Martin v. Local 556, Transp. Workers Union of Am.,

   AFL-CIO, 2014 U.S. Dist. LEXIS 122755, at *12 (N.D. Tex. Sep. 3, 2014)

   (“Section 530 does not contain any language suggesting that Congress intended to


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   authorize a private cause of action.”); Rodriguez v. Serv. Emples. Int'l, 755 F.

   Supp. 2d 1033, 1048 (N.D. Cal. 2010) (“Section 530 does not give rise to a private

   cause of action.”); Schonfeld v. Raftery, 335 F. Supp. 846, 851 (S.D.N.Y. 1971)

   (“Plaintiff has no standing to enforce these criminal provisions”). Grant v.

   Communications. Workers of Am., Local 1101 (“Grant I”), 2014 U.S. Dist. LEXIS

   96585, at *6 n.3 (S.D.N.Y. July 15, 2014) (“is a criminal provision with no private

   civil right of action.”) citing Breininger v. Sheet Metal Workers Int'l Ass'n Local

   Union No. 6, 493 U.S. 67, 93 n.17 (1989); Grant v. Communications Workers,

   Local 1101 (“Grant II”), 2017 U.S. Dist. LEXIS 198188, at *19 (S.D.N.Y. Dec. 1,

   2017) (dismissing plaintiffs’ claim under Section 530). The claim should be

   dismissed with prejudice.

   F. Defendant Exoo’s Alleged Conduct is Protected by the First Amendment
      and New Jersey Constitution

         Even if the counts in the SAC were otherwise proper, the claims are barred

   by the First Amendment.

         1. The First Amendment Protects Private Individuals Against Being Sued in
            Court by Other Private Individuals

         In its Opinion dismissing the FAC, the Court stated that the First

   Amendment only protects a person against governmental action. See ECF No. 99,

   Opinion at 5. If Plaintiffs’ claims were upheld, the government action in this case

   would be the Court’s participation in infringement of Defendant’s First

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   Amendment Right to freedom of speech. Plaintiffs seek to employ federal causes

   of action and a tort against Mr. Exoo by suing him in a federal courthouse.

         It is well-settled that the First Amendment defense can apply to civil court

   proceedings between private individuals. Snyder v. Phelps, 562 U.S. 443 (2011), is

   instructive. Snyder, a private individual, brought a tort action against a

   congregation called the Westboro Baptist Church for their picketing at his son’s

   funeral. The Supreme Court ruled, “[w]hether the First Amendment prohibits

   holding Westboro liable for its speech in this case turns largely on whether that

   speech is of public or private concern, as determined by all the circumstances of

   the case.” Id. at 451. As Snyder illustrates, a civil action pursuant to laws of this

   country is, in itself, a government action that is subject to First Amendment

   scrutiny. See also NAACP v. Claiborne Hardware, 458 U.S. 886, 934 (1982) (First

   Amendment protects the NAACP against a civil lawsuit by private merchants.)

         The Third Circuit has held that the First Amendment defense applies to civil

   RICO claims. Northeast Women’s Center v. McMonagle, 868 F.2d 1342, 1348 (3d

   Cir. 1989). In distinguishing liability for trespass and property damage from

   liability for speech, the Third Circuit held, “[w]e would have grave concerns were

   these or any other defendants held liable under civil RICO for engaging in the

   expression of dissenting political opinions in a manner protected under the First

   Amendment.” Id.


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         Plaintiffs fail to allege that Exoo engaged in anything other than protected,

   political speech. Identifying members of dangerous extremist groups on social

   media and alerting others to the extremists’ employer’s contact information is

   protected speech and is no different from a political boycott for non-economic

   purposes. “The use of speeches, marches, and threats of social ostracism cannot

   provide the basis for a damages award.” Claiborne, 458 U.S. 934 (1982) (noting

   “[p]etitioners sought to vindicate rights of equality and of freedom that lie at the

   heart of the Fourteenth Amendment itself”). Id. at 914 (internal quotations

   omitted). “The inappropriate or controversial character of a statement is irrelevant

   to the question of whether it deals with a matter of public concern.” Rankin v.

   McPherson, 483 U.S. 378, 387 (1987). See Amawi v. Pfleugerville Ind. School

   Dist., 373 F. Supp. 3d 717, 747 (W.D. Tx 2018) (“political boycotts are protected

   speech”). Defendant Exoo’s alleged speech is protected by the First and Fourteenth

   Amendments as well as Article One, Section Six of the New Jersey Constitution.

         2. Defendant Exoo’s Speech Was Not a True Threat

         “True threats” are not protected speech. A true threat must be “so

   unequivocal, unconditional, immediate and specific as to the person threatened, as

   to convey a gravity of purpose and imminent prospect of execution.” Planned

   Parenthood of the Columbia/Willamette, Inc. v. Am. Coal. of Life Activists, 290

   F.3d 1058, 1078 (9th Cir. 2002) (quoting United States v. Kelner, 534 F.2d 1020,


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   1027 (2d Cir. 1976). Plaintiffs failed to plausibly allege facts from which the Court

   can conclude that Defendant Exoo made any actionable true threats. Exoo’s actions

   are non-violent. Even the strongest statement from Exoo alleged in the SAC: that

   Exoo was going to spend a week wrecking Plaintiff’s D’Ambly’s life is not a true

   threat and does not incite violence. See e.g., Claiborne, 458 U.S. 902, 929 (1982)

   (Finding “[i]f we catch any of you going in any of them racist stores, we're gonna

   break your damn neck” to not be a true threat). That tweet was a declaration of

   what Defendant Exoo planned to do personally. It is not a call for action to other

   parties. If the context is examined, Defendant Exoo’s entire Twitter presence

   demonstrates that he spends his time exposing people on the far right and that

   threat cannot be reasonably read to mean he was going to personally drive to New

   Jersey to assault Plaintiff D’Ambly. See Torres Decl. Exh. D

         D’Ambly claims Defendant Strickland told his employer, not D’Ambly

   himself, that the Daily News would have blood on its hands if violence occurred.

   See SAC at ¶ 52. In its Opinion, the Court noted that Plaintiff D’Ambly provided

   no context for the statement in the FAC and it was unclear what the caller was

   referring to. See ECF No. 99, Opinion at 17. That remains unchanged and cannot

   be interpreted as a true threat as it is not, as plead, an unambiguous threat. SAC at

   ¶ 57, 62, 209, 211.




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         3. Exoo’s statements do not make him liable for the actions of third parties.

         Plaintiffs D'Ambly, Scott and the Rehl Plaintiffs’ alleged property damage

   by unnamed third parties is not actionable against Exoo because Exoo’s statements

   are constitutionally protected. SAC at ¶¶ 61, 83, 84, 91, 96, 136. Nowhere did

   Defendant Exoo call for damage to their property. Plaintiffs failed to plausibly

   allege a causal link between Exoo’s Constitutionally protected statements and the

   alleged property damage of the Plaintiffs. In Claiborne, 458 U.S. 933-934 (1982),

   the Supreme Court rejected similar efforts to prosecute individuals for the conduct

   of third parties, noting:

         [a] massive and prolonged effort to change the social, political, and
         economic structure of a local environment cannot be characterized as a
         violent conspiracy simply by reference to the ephemeral consequences of
         relatively few violent acts. Such a characterization must be supported by
         findings that adequately disclose the evidentiary basis for concluding that
         specific parties agreed to use unlawful means, that carefully identify the
         impact of such unlawful conduct, and that recognize the importance of
         avoiding the imposition of punishment for constitutionally protected activity.

   Plaintiffs have failed to meet that standard.

                                     CONCLUSION

      For the foregoing reasons, Defendant Exoo asks this Court to grant the relief

   requested in this motion.

   Dated: January 14, 2022
          Springfield, NJ

                       Respectfully submitted,


   MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT CHRISTIAN EXOO’S MOTION TO DISMISS
   PURSUANT TO F.R.C.P. Rules 12(b)(2) and 12(b)(6)                             40
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                     By:



                     /s/
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   MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT CHRISTIAN EXOO’S MOTION TO DISMISS
   PURSUANT TO F.R.C.P. Rules 12(b)(2) and 12(b)(6)                             41
